Case 3:18-cv-00579-PGS-LHG Document 22 Filed 11/27/18 Page 1 of 1 PageID: 66



                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY
                                        TRENTON DIVISION

 THE INDEPENDENCE PROJECT, INC., a
 New Jersey Non-Profit Corporation, and
 RONALD MOORE, Individually,

                    Plaintiffs,
 vs.                                                         Case No.: 3:18-cv-00579-PGS-LHG

 UNISON-ALTO HOOPER, LLC, a Foreign
 Limited Liability Company,

          Defendant.
                                             /

                        STIPULATION FOR DISMISSAL WITH PREJUDICE

         Plaintiffs and Defendant, pursuant to the Federal Rules of Civil Procedure, hereby move
 to dismiss this action with prejudice, a resolution of all matters in dispute having been made
 pursuant to a Settlement Agreement executed between the parties. The parties have stipulated in
 their agreement that the Court retain jurisdiction to enforce the terms and conditions of the
 Settlement Agreement.
 Respectfully Submitted,

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 Date:   11/26/18                                    Date:    11/26/18
